CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?117302747764217-...
                      Case 4:17-cr-00038-MLB-WEJ Document 405 Filed 04/23/21 Page 1 of 1




                                                4:17-cr-00038-MLB-WEJ
                                                    USA v. Barr et al
                                               Honorable Michael L. Brown

                                Minute Sheet for proceedings held In Open Court on 04/23/2021.


              TIME COURT COMMENCED: 10:15 A.M.
                                                                  COURT REPORTER: Jana B. Colter
              TIME COURT CONCLUDED: 2:10 P.M.
                                                                  USPO: Kevin Bennett
              TIME IN COURT: 3:55
                                                                  DEPUTY CLERK: Benjamin Thurman
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Michael Anthony Barr Present at proceedings
                                     [2]Nadya Ivette Diaz Present at proceedings
         ATTORNEY(S)                Jessica Morris representing USA
         PRESENT:                   Frances Rockwell representing Nadya Ivette Diaz
                                    Noah Schechtman representing USA
                                    Brian Steel representing Michael Anthony Barr
         PROCEEDING
                                    Sentencing Hearing(Sentencing Hearing-Contested);
         CATEGORY:
         MINUTE TEXT:               Sentencing hearing held. Special Agent Tim Coakley was called by the
                                    government as a witness. Defendant Barr sentenced as to counts 1, 2, 3,
                                    and 4 of the second superseding indictment and Defendant Diaz sentenced
                                    as to counts 1 and 8 of the second superseding indictment. See J&Cs for
                                    sentences. Defendants remain in the custody of the United States Marshals
                                    Service.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                             4/23/2021, 2:18 PM
